CaSe: 4215-CV-00060-GHD-.]|\/|V DOC #Z 8 Filed: 07/15/15 l Of l Page|D #Z 104

IN THE UNITED STATES DISTRICT COURT FOR
THE NCRTHERN DISTRICT OF MISSISSIPPI
GREENVILLE DIVISICN

IDA MAE COOPER, DECEASED, BY AND PLAINTIFFS
THROUGH LEE DORA FIELDS, AS

ADMINISTRATRIX AND AS REPRESENTATIVE

OF THE WRONGFUL DEATH BENEFICIARIES

OF IDA MAE CO()PER, DECEASED

VS. CIVIL ACTION'NO. 4:15-CV-O60-GHD-JMV

FRESENIUS MEDICAL CARE HOLDINGS, INC. DEFENDANTS
D/B/A FRESENIUS MEDICAL CARE NORTH AMERICA;

FRESENIUS MEDICAL CENTER - CLARKSDALE

AND JOHN DOES 1-1()

 

sTIPULATIoN OF vOLUNTARY DIsMIssAL PURSUANT TO
F.R.C.P. 41(a)(1)(A)(ii)

 

 

 

IT IS HEREBY STIPULATED AND AGREED by and between the parties that
Fresenius Medical Care North Ameriea Holdings, L.P. is voluntarily dismissed, Without
prejudice, pursuant to the Federal Rules Of Civil Procedure 41(a)(1)(A)(ii).

Dated this the 15th day Of July, 2015.

 

/s/George F. Hollowell, Jr. /s/John D. Priee

GEORGE F. HOLLOWELL, JR. (MSB #2559) JOHN D. PRICE (MSB #4495)
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